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                               UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                        MIAMI DIVISION

In re:                                                          Case No. 18-26085-BKC-RAM
                                                                Chapter 7
BARRY DE VERTEUIL
SSN: XXX-XX-3728

          Debtor.                         /

         TRUSTEE, BARRY E. MUKAMAL’S EX PARTE MOTION FOR EMPLOYMENT
          OF SCOTT N. BROWN, ESQUIRE AND BAST AMRON LLP AS ATTORNEYS
               FOR THE TRUSTEE NUNC PRO TUNC TO FEBRUARY 4, 2019

            Barry E. Mukamal, as Chapter 7 trustee of the bankruptcy estate of Barry De Verteuil, (the

"Trustee"), through proposed counsel and pursuant to 11 U.S.C. § 327(a) and Federal Rule of

Bankruptcy Procedure 2014-1(A), files his Ex Parte Motion for Employment of Scott N. Brown,

Esquire and Bast Amron LLP as Attorneys for the Trustee Nunc Pro Tunc to February 4, 2019 (the

“Motion”), and as good cause for same, states as follows:

                                               Background

            1.      This case commenced with the filing of a voluntary Chapter 7 petition by Barry De

Verteuil (the “Debtor”) on December 28, 2018 (the “Petition Date”). Shortly thereafter, Barry E.

Mukamal was appointed as Chapter 7 trustee of the Debtor’s bankruptcy estate (the “Estate”).

            2.      The 341 Meeting of Creditors was held and concluded on February 5, 2019.

            3.      It is necessary that the Trustee employ an attorney to represent him to perform

ordinary and necessary legal services required in the administration of the Estate.

            4.      The Trustee wishes to employ Scott N. Brown, Esquire (“Brown”) and Bast Amron

LLP (the “Firm,” and together with Brown, “Bast Amron” or “Applicant”), to act as attorneys for the

Estate nunc pro tunc to February 4, 2019.

            5.      This Court has the power to authorize said employment pursuant to 11 U.S.C. §

327(a) which provides, in pertinent part, that “… the trustee, with the court’s approval, may employ




              
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one or more attorneys, accountants, appraisers, auctioneers, or other professional persons, that do not

hold or represent an interest adverse to the estate, and that are disinterested persons, to represent or

assist the trustee in carrying out the trustee’s duties under this title."

            6.   Scott N. Brown, Esquire and the other attorneys at Bast Amron are attorneys at law

duly admitted to practice before this Court and other necessary state and federal courts in this

jurisdiction and have a particular expertise with regard to bankruptcy, corporate reorganization and

debtor/creditor matters in cases under Title 11, U.S.C.

            7.   Bast Amron does not hold or represent any interest adverse to the Estate and the

Trustee believes that the employment of Scott N. Brown, Esquire and Bast Amron LLP would be in

the best interest of the Estate.

            8.   Attached hereto is the proposed attorney's affidavit demonstrating that Scott N.

Brown, Esquire and Bast Amron, LLP are disinterested as required by 11 U.S.C. § 327(a) and a

verified statement as required under F.R.B.P. 2014-1(A).

            9.   As detailed in the Affidavit of Scott N. Brown, Esquire attached hereto as Exhibit

“A” and incorporated by reference, Bast Amron: (a) does not hold or represent any interest adverse

to the Estate; and (b) is disinterested. However, in an abundance of caution and in the interests of full

disclosure, it should be noted that: (a) Brown and the Firm have in the past, presently, and plan to

continue in the future, to represent the Trustee in unrelated cases; (b) Brown serves as a panel

Chapter 7 trustee; (c) the Firm and Brown have in the past, and may continue from time to time in the

future, to represent debtors in unrelated cases who were or may be adverse to the Trustee in his

capacity as trustee of said debtor(s)’ estates; (d) Brown, in his capacity as trustee in unrelated cases,

has in the past, presently, and plans to continue in the future, to hire the Trustee and his accounting

firm, KapilaMukamal, LLP (“KapilaMukamal”) as accountants and/or experts; (e) Brown and the

Firm have in the past, presently, and plan to continue in the future, to represent other panel trustees

that regularly employ the Trustee and KapilaMukamal as accountants and/or experts in unrelated



              
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cases; and (f) the Trustee and KapilaMukamal may have been retained as experts in unrelated cases

in which they were adverse to the interests of the Firm’s clients. In addition, Brown’s son, a college

junior, was a part-time summer intern at KapilaMukamal. The Trustee and Brown assert that none of

the above disclosures impair Bast Amron’s ability to serve as counsel to the Trustee and the Estate.

            10.    Applicant has agreed to be compensated in accordance with 11 U.S.C. § 330.

            11.    Pursuant to Local Rule 5005-1(G), a proposed Order accompanies this Motion.

            WHEREFORE, Barry E. Mukamal, as Chapter 7 trustee of the bankruptcy estate of Barry

De Verteuil, respectfully requests this Honorable Court enter an order: (i) authorizing the

employment of Scott N. Brown, Esquire and Bast Amron LLP as attorneys for the Estate, nunc pro

tunc to February 4, 2019, with compensation for such legal services to be paid as an administrative

expense in such amounts as this Court may hereafter determine and allow upon application or

applications to be filed by said attorneys; and (ii) granting such other and further relief as this Court

deems just and proper.

            I HEREBY CERTIFY that a true and correct copy of the foregoing was furnished this 8th

day of February 2019, as follows:

via electronic transmission to:
     Timothy S Kingcade scanner@miamibankruptcy.com, kingcadeserve@bellsouth.net;
        r46540@notify.bestcase.com
     Barry E Mukamal bemtrustee@kapilamukamal.com, FL64@ecfcbis.com
     Office of the US Trustee USTPRegion21.MM.ECF@usdoj.gov
     Nathalie C. Rodriguez nrodriguez@rasflaw.com


                                                        /s/ Barry E. Mukamal, Trustee___________
                                                        Barry E. Mukamal, Trustee
                                                        One Southeast Third Avenue, Suite #2150
                                                        Miami, Florida 33131
                                                        Telephone: (786) 517-5760




              
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                    EXHIBIT A
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